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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND




 “NAZARBAYEV FUND” PRIVATE FUND,

                                    Plaintiff,       Civil Action No. 22-cv-1880-JRR
               v.

 JOURNALISM DEVELOPMENT NETWORK,
 INC.

                                    Defendant.




                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff “Nazarbayev Fund”

Private Fund hereby dismisses this action without prejudice. Dismissal is proper under Rule

41(a)(1)(A)(i) because Defendant has neither served an answer nor a motion for summary

judgment.




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Dated: New York, New York
       December 15, 2022
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